






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00320-CV






Hugh T. Mitchell, III and Janice K. Mitchell, Appellants


v.


Terrell Timmerman, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-04-001038, HONORABLE DARLENE BYRNE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		This is an appeal from a summary judgment that presents limitations issues.  For the
reasons explained below, we will affirm the judgment.

		Spouses Hugh T. ("Tex") Mitchell, III and Janice K. ("Kim") Mitchell own residential
property at 6206 Burns Street in Austin.  Immediately behind the Mitchells' property is property
owned by Terrell Timmerman at 6215 North Lamar.  On Timmerman's property, near its boundary
with the Mitchells' property, is a cinder-block wall.  Some of the cinder blocks within the wall are
placed sideways so as to create openings that allow rain or storm water to drain from Timmerman's
property onto the Mitchells' property, which lies at a lower elevation.  The Mitchells have alleged
that these and other components of a "drain system" installed on Timmerman's property have
"diverted the natural flow of surface water" so as to damage their property.

		The Mitchells sued Timmerman on March 30, 2004, seeking damages and injunctive
relief under section 11.086 of the water code, which prohibits a person from "divert[ing] or
impound[ing] the natural flow of surface waters in this state, or permit[ting] a diversion or
impounding by him to continue, in a manner that damages the property of another by the overflow
of the water diverted or impounded."  See Tex. Water Code Ann. § 11.086 (West 2008).  It is
undisputed that the Mitchells' suit is governed by a two-year statute of limitations.  See Graham
v.&nbsp;Pirkey, 212 S.W.3d 507, 512 (Tex. App.--Austin 2006, no pet.) (citing Anders v. Mallard
&amp;&nbsp;Mallard, Inc., 817 S.W.2d 90, 95 (Tex. App.--Houston [14th Dist.] 1991, no writ)); see also
Tex.&nbsp;Civ. Prac. &amp; Rem. Code Ann. § 16.003(a) (West 2002 &amp; Supp. 2008). (1)

		Timmerman filed a succession of three traditional motions for summary judgment
asserting, among other grounds, that the Mitchells had failed to file suit within the two-year
limitations period.  Though each of his motions raised limitations as a ground, Timmerman's
arguments and evidence in each motion were not entirely identical.  In his third and final motion,
Timmerman argued chiefly that under this Court's decision in Graham v. Pirkey, 212 S.W.3d at 512,
and Schneider National Carriers, Inc. v. Bates, 147 S.W.3d 264 (Tex. 2004), any diversion of
surface water by his drainage system was "permanent" in nature, such that the Mitchells' claims
would have accrued when the system first caused injury.  See Bates, 147 S.W.3d at 270 ("A
permanent nuisance claim accrues when injury first occurs or is discovered; a temporary nuisance
claim accrues anew upon each injury.") (emphasis in original); Graham, 212 S.W.3d at 512
(applying Bates's analysis of accrual of nuisance claims to claims under section 11.086 of the
water&nbsp;code).  Timmerman attached an affidavit wherein he testified that he had purchased his
property in 1988 and that "I have not done anything to change the flow of the surface water on my
property, or altered the flow of such water to the Mitchell's property, since I bought it," that "[t]he
flow of the surface water has remained unchanged by me since I bought the property in 1988," and
that "th[e] drainage system was installed in the 1940's, before any of the surrounding houses,
including Plaintiff's, were built." (2)  Consequently, Timmerman reasoned, any claims the Mitchells
owned regarding the water diversion would have accrued many years ago, and would be barred by
limitations.  Timmerman added that because the drainage structure and diversion were open and
obvious, the discovery rule would not apply and that, in any event, the Mitchells had discovered
damage they later attributed to water diversion as early as 2001.

		In each of his summary-judgment motions, Timmerman also asserted the ground that
the Mitchells had failed to serve him with process within the limitations period and to act with
diligence in obtaining service thereafter. (3)  However, Timmerman briefed and attached evidence in
support of this ground only in his first two motions. (4)  Timmerman's summary-judgment evidence
regarding service and diligence included:



  	the Mitchells' original petition, which was file-stamped on March 30, 2004.

  	an invoice from the Mitchells' trial-level counsel reflecting that the Mitchells
had consulted with him regarding "Water code violations" as early as
October&nbsp;7, 2002.  Timmerman relied on this date as the latest on which the
two-year limitations period possibly could have begun to run. (5)  Thus, he
reasoned, the two-year limitations period would have expired on October 7,
2004, at the latest.


											


  	the citation, which was issued on February 14, 2005, and a receipt from the
Travis County District Clerk reflecting that the Mitchells' prior counsel paid
the service fee on that date.

  	the return, which reflected that Timmerman was served on February 18, 2005.




		In response, the Mitchells presented evidence to the effect that their prior counsel had
a belief or understanding that Timmerman's prior counsel had agreed to accept service on
Timmerman's behalf or to delay service.  The record includes copies of correspondence between the
parties' respective counsel and Timmerman's insurance carrier reflecting attempts to resolve the
dispute.  These communications began with a December 2002 demand letter from the Mitchells
and&nbsp;continued through early 2005.

		A March 22, 2004, facsimile cover sheet from the Mitchells' prior counsel to
Timmerman's counsel states that "[m]y client has authorized me to move forward and file suit," and
indicates that a copy of the petition is attached.  Counsel further inquired, "[w]ill you accept service
for Mr. Timmerman?"  Concerning this fax, the Mitchells' prior counsel testified by affidavit that
"I sent a copy of the petition to [Timmerman's counsel], after which we had a number of
conversations.  As a result of those conversations, I understood that [counsel] would accept service
on behalf of Mr. Timmerman, but that we should abate proceeding with the suit, until we could work
out a resolution."  Subsequently, in a December 2, 2004, fax to Timmerman's prior counsel, counsel
stated that "[m]y file reflects that in March I sent a copy of the petition filed after you agreed to
accept service on behalf of Timmerman" and that "[w]e also agreed that no answer needed to be
filed&nbsp;as we were working toward an amicable resolution."  Timmerman's counsel responded with
communications denying prior awareness that suit had actually been filed (6) and the existence of any
agreement or authority to accept service on Timmerman's behalf. (7)  The Mitchells' counsel averred
that he "was completely surprised and taken aback" by this "revocation of his agreement to accept
service," and "immediately moved forward to issue service and have Mr. Timmerman served." 
Other than the parties' competing assertions in affidavits and correspondence, there is no evidence
of any agreement whereby Timmerman's counsel would accept service on his client's behalf or
delay&nbsp;service.

		The district court denied each of Timmerman's first two summary-judgment motions
but granted the third, (8) stating in its order that it "finds that no genuine issues of material fact exist,
and based in part on Graham v. Pirkey, 212 S.W.3d 507 (Tex. App.--Austin 2006), the Motion
should be granted."  The Mitchells bring three issues on appeal, asserting that the district court erred
in granting summary judgment because:  (1) their claimed injury from the alleged water diversion
was "temporary" rather than "permanent" as a matter of law; (2) even if their injury was permanent,
fact issues remained as to whether their injury first occurred before mid-2002; and (3) the discovery
rule tolled limitations until the fall of 2002.  Timmerman brings a cross-point in which he urges that
summary judgment must be affirmed because the district court erred in denying his first and second
motions on the ground that the Mitchells, as a matter of law, failed to exercise diligence in effecting
service after the limitations period expired.  Timmerman's cross-point is decisive.

		We review the district court's summary judgment de novo.  Valence Operating Co.
v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005); Provident Life &amp; Accident Ins. Co. v. Knott,
128&nbsp;S.W.3d 211, 215 (Tex. 2003).  When reviewing a summary judgment, we take as true all
evidence favorable to the non-movant, and we indulge every reasonable inference and resolve any
doubts in the non-movant's favor.  Valence Operating Co., 164 S.W.3d at 661; Knott, 128 S.W.3d
at 215. Summary judgment is proper when there are no disputed issues of material fact and the
movant is entitled to judgment as a matter of law.  Tex. R. Civ. P. 166a(c).

		If the trial court does not specify the ground or grounds on which it relied in granting
summary judgment, we must affirm if any of the grounds presented in the motion were meritorious. 
Provident Life &amp; Accident Ins. Co. v. Knott, 128 S.W.3d 211, 216 (Tex. 2003).  We also may affirm
based on an alternative ground on which the district court denied summary judgment that is raised
in the motion or motions below and argued on appeal.  See Baker Hughes, Inc. v. Keco R. &amp; D., Inc.,
12 S.W.3d 1, 5 (Tex. 1999); Cincinnati Life Ins. Co. v. Cates, 927 S.W.2d 623, 625 (Tex. 1996). 
Consequently, we must consider Timmerman's diligence-in-service ground as a basis for affirming
the summary judgment.

		A defendant who conclusively negates at least one of the essential elements of each
of the plaintiff's causes of action or who conclusively establishes all of the elements of an
affirmative defense is entitled to summary judgment.  Cathey v. Booth, 900 S.W.2d 339, 341
(Tex.&nbsp;1995).  To obtain summary judgment on the affirmative defense of limitations, a movant must
conclusively establish when a cause of action accrued and that the plaintiff did not file suit within
the limitations period.  Diversicare Gen. Partner, Inc. v. Rubio, 185 S.W.3d 842, 846 (Tex. 2008). 

		Even if suit is filed within the limitations period, it is barred by limitations if the
defendant is not served within the limitations period and the plaintiff did not exercise diligence in
obtaining service.  See Proulx v. Wells, 235 S.W.3d 213, 215 (Tex. 2007) (per curiam) (citing
Murray v. San Jacinto Agency, Inc., 800 S.W.2d 826, 830 (Tex. 1990); Rigo Mfg. Co. v. Thomas,
458 S.W.2d 180, 182 (Tex. 1970)).  Once a defendant has affirmatively pled the limitations defense
and shown that service was effected after limitations expired, the burden shifts to the plaintiff "to
explain the delay."  Proulx, 235 S.W.3d at 216 (quoting Murray, 800 S.W.2d at 830).  When the
burden has been shifted in this manner, "it is the plaintiff's burden to present evidence regarding the
efforts that were made to serve the defendant, and to explain every lapse in effort or period of delay."
 Id.  "Generally, the question of the plaintiff's diligence in effecting service is one of fact, and is
determined by examining the time it took to secure citation, service, or both, and the type of effort
or lack of effort the plaintiff expended in procuring service."  Id.  The "relevant inquiry is whether
the plaintiff acted as an ordinarily prudent person would have acted under the same or similar
circumstances and was diligent up until the time the defendant was served."  Id.  However, the
plaintiff may fail to raise a fact issue if the evidence demonstrates a lack of diligence as a matter of
law, "as when one or more lapses between service are unexplained or patently unreasonable."  Id.;
see also Holt v. D'Hanis State Bank, 993 S.W.2d 237, 241 (Tex. App.--San Antonio 1999, no pet.)
(plaintiff's failure to file response to summary judgment constituted failure to explain delay, and
"[a]n unexplained delay constitutes a lack of due diligence as a matter of law").  Also, the plaintiff's
explanation may be "legally improper to raise the diligence issue."  Proulx, 235 S.W.3d at 216
(citing cases involving oral agreements to delay service and plaintiff's desire to obtain remand from
federal court).  But if the plaintiff's explanation for the delay raises a material fact issue concerning
the diligence of service efforts, the burden shifts back to the defendant to conclusively show why,
as a matter of law, the explanation is insufficient.  Id.

		Timmerman met his summary-judgment burden to establish that he was not served
until after limitations had expired.  Specifically, he presented uncontroverted summary-judgment
evidence establishing that (1) the two-year limitations period began to run no later than October 7,
2002, and would have expired on October 7, 2004; (2) the Mitchells filed suit on March 30, 2004;
and (3) he was not served until February 18, 2005, over four months later.  Consequently, the burden
shifted to the Mitchells "to explain the delay." Id. (quoting Murray, 800 S.W.2d at 830).  The
Mitchells did not controvert Timmerman's summary-judgment proof that they did not request
issuance of citation until February 11, 2005.  Instead, they rely solely on the explanation that
Timmerman's counsel had agreed to accept service and/or "abate" service while the parties
attempted to resolve the matter.

		In Proulx, the supreme court indicated that unenforceable oral agreements regarding
service of process are a type of explanation that is "legally improper to raise the diligence issue." Id.
(citing Brown v. Shores, 77 S.W.3d 884, 890 (Tex. App.--Houston [14th Dist.] 2002, no pet.)
(Brister, C.J., concurring), and Belleza-Gonzalez v. Villa, 57 S.W.3d 8, 11 (Tex. App.--Houston
[14th Dist.] 2001, no pet.)).  This line of authorities cited with approval by the supreme court hold
that "when an agreement between attorneys or parties delays an appellant from obtaining service on
appellees, that agreement must meet the requirements of Rule 11."  Villa, 57 S.W.3d at 12; see Allen
v. City of Midlothian, 927 S.W.2d 316, 320 (Tex. App.--Waco 1996, no writ); see also Yarrow
v.&nbsp;Carmel Cos., No. 03-00-00424-CV, 2001 Tex. App. LEXIS 376, at *14 (Tex. App.--Austin
Jan.&nbsp;19, 2001, pet. denied) (not designated for publication).  Rule 11 of the Texas Rules of Civil
Procedure provides that "no agreement between attorneys or parties touching any suit pending will
be enforced unless it be in writing, signed, and filed with the papers as part of the record, or made&nbsp;in
open court and entered of record."  Tex. R. Civ. P. 11.  There is no evidence here of any agreement
regarding service of process that complied with rule 11. (9)  Consequently, the alleged oral or informal
"understanding" on which the Mitchells rely cannot raise a fact issue regarding diligence.  Proulx,
235 S.W.3d at 216.  Although this may be a harsh result and one that potentially invites
gamesmanship, see Belleza-Gonzalez, 57 S.W.3d at 13-14 (Wittig, J., dissenting), it is one that
Proulx and rule 11 appear to require.

		The summary-judgment evidence thus establishes an unexplained delay of over
four&nbsp;months in obtaining service on Timmerman after limitations had expired.  Such a delay
constitutes a lack of diligence as a matter of law.  See, e.g., Boyattia v. Hinojosa, 18 S.W.3d 729,
733 (Tex. App.--Dallas 2000, pet. denied) (three-month delay after plaintiff had requested
citation&nbsp;and plaintiff failed to follow-up with clerk); Webster v. Thomas, 5 S.W.3d 287, 289
(Tex.&nbsp;App.--Houston [14th Dist.] 1999, pet. denied) (four-month and ten-day delay); Holt,
993&nbsp;S.W.2d at 241 (three-month delay); Li v. University of Tex. Health Sci. Ctr., 984 S.W.2d 647,
650&nbsp;(Tex. App.--Houston [14th Dist.] 1998, pet. denied) (four-month delay).  Consequently,
Timmerman was entitled to summary judgment on this ground.

		We sustain Timmerman's cross-point and affirm the district court's judgment.




						_____________________________________________

						Bob Pemberton, Justice

Before: Chief Justice Law, Justices Puryear and Pemberton

Affirmed

Filed:   November 7, 2008
1.   The Mitchells purchased the property in March 2003, but had lived there together since the
latter half of 2001.  Kim Mitchell, furthermore, had lived in the house since 1998 or 1999.  The
Mitchells pled that the previous owner, Ms. Mitchell's late grandmother, had assigned to them any
claims she owned against Timmerman arising from the alleged water diversion.
2.   On the other hand, the summary-judgment record also included deposition testimony of
Tex Mitchell in which he recounted a conversation in which Timmerman, according to Mitchell,
informed him that "the drainage system that . . . was installed was intended to simulate the natural
run-off of water, but--but apparently was broken." See Graham v. Pirkey, 212 S.W.3d 507, 512
(Tex. App.--Austin 2006, no pet.).  Mitchell did not elaborate on the timing of this particular
conversation or when the drainage system purportedly became "broken," but the Mitchells had
elsewhere indicated that they had not identified Timmerman as the owner of the adjacent property
until March 2003.
3.   In his first two motions, Timmerman also asserted no-evidence grounds challenging
various elements of the Mitchells' cause of action.  These grounds are not at issue on appeal.
4.   Timmerman did not attach or incorporate his earlier motions into his third motion.
5.   Timmerman attached this invoice to his second summary-judgment motion.  He attached
to his first motion a demand letter from counsel dated December 11, 2002.
6.   Timmerman's counsel sent a December 6, 2004, fax stating, "You sent me a fax on
March&nbsp;22 enclosing a copy of an unsigned petition.  I called you immediately and ask[ed] you to hold
up and give time . . . to work this out.  On Friday you sent me another fax with a copy of a petition
with a file mark on it.  This is the first time I knew that you had filed a suit."
7.   Timmerman's current and prior counsel also submitted summary-judgment affidavits
denying that either had agreed to accept service on Timmerman's behalf.
8.   Judge Suzanne Covington heard Timmerman's first motion, while Judge Darlene Byrne
heard the second and third motions.  In their responses to Timmerman's second and third motions,
the Mitchells accused him of attempting to "forum shop" via the Travis County central docket and
sought sanctions, but the district court denied such relief.
9.   We also observe that rule 119 of the rules of civil procedure requires a "written
memorandum" signed by a party, its duly authorized agent, or attorney "after suit is brought, sworn
to before a proper officer . . . and filed among the papers of the cause" to waive the issuance and
service of process on the party.  See Tex. R. Civ. P. 119.  None of the communications upon which
the Mitchells rely comply with rule 119. 


